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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

JESSE E. MOODY, JR.,
      Plaintiff,
v.                                                Case No. 4:20-cv-366-AW-MAF
CHRISTOPHER EDELEN, et al.,
     Defendants.
_______________________________/
        ORDER ADOPTING REPORT AND RECOMMENDATION

      Through his September 21, 2020, report and recommendation (ECF No. 8),

the magistrate judge recommends dismissal for failure to prosecute and failure to

comply with a court order. The magistrate judge earlier granted leave to proceed in

forma pauperis and ordered Plaintiff to submit a partial filing fee of $1.30. ECF No.

7. The same order, though, provided that “[if] Plaintiff contends that insufficient

funds exist with which to pay the assessed initial partial filing fee, Plaintiff must

submit a current Trust Fund Account Statement demonstrating how funds have been

depleted and a motion requesting permission to proceed without payment of the

assessed fee.” ECF No. 7. Plaintiff did not timely submit the $1.30, and he did not

submit a current statement or move for permission to proceed without payment of

the assessed fee. In short, he did not comply with the magistrate judge’s order. And

the magistrate judge made clear that failure to comply would lead to his

recommending dismissal, ECF No. 7 at 4, which is what happened, ECF No. 8.

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      Plaintiff has filed objections, ECF No. 9, which I have considered de novo.

The gist of the objection is that Plaintiff expected his father would pay the filing fee.

But no payment has been received. The Plaintiff’s objections are overruled, and the

report and recommendation is adopted and incorporated into this order.

      The clerk will enter a judgment that says, “This case is dismissed for failure

to comply with a court order.” The clerk will then close the file.

      SO ORDERED on October 20, 2020.

                                         s/ Allen Winsor
                                         United States District Judge




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